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          EXHIBIT 34
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OFFICE OF COMPLIANCE CONSULTANTS
5 WEST 15TH STREET · HIGH IMPACT COMPOUND · MERCADO TRAILER · EAST ELMHURST, NY 11370


                                                                                            Deputy Director
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                                                                                October 27, 2021

By Electronic Delivery
Honorable Loretta A. Preska
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007-1312

              Report on Environmental Conditions re: Benjamin v. Schiraldi
                                                     75 Civ. 3073 (LAP)

Dear Judge Preska:

       Enclosed is OCC’s report on specific environmental conditions within the NYC jails,
pursuant to the late Judge Baer’s 2001 Order on: Environmental Conditions. This report
summarizes monitoring observations during May–August 2021 and provides an update on the
Defendants’ progress with respect to related orders entered by Judge Baer.

       .

                                                            Respectfully submitted,


                                                            Nicole N. Austin-Best
                                                            Deputy Director
                                                            Office of Compliance Consultants

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OFFICE OF COMPLIANCE CONSULTANTS
5 WEST 15th ST · HIGH IMPACT COMPOUND · MERCADO TRAILER · EAST ELMHURST, NY 11370




Report on
Environmental
Conditions
Benjamin v. Schiraldi, 75 Civ. 3073 (LAP) Progress Report, May–August 2021




     Nicole N. Austin–Best
     10/27/2021
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      I. INTRODUCTION

             The Office of Compliance Consultants (“OCC”) is authorized to monitor the

    Defendants’—the City of New York’s (“NYC”) and the NYC Department of Correction’s

    (“DOC” or the “Department”)—compliance with the Court’s mandates contained in various

    orders: the Order re: Fire Safety, dated November 13, 1998; the Order on: Environmental

    Conditions (the “Environmental Order”), dated April 26, 2001; the Order re: Testing and Repair

    of Ventilation Systems (the “Ventilation Order”), dated November 14, 2003; the Amended

    Supplementary Order re: Repair and Renovation of Ventilation Systems (the “Am. Supp.

    Ventilation Order”), dated February 11, 2009; the Amended Order re: Lighting Conditions (the

    “Am. Lighting Order”), dated October 7, 2010; the “so ordered” Stipulation concerning

    withdrawal of sanitation motions and steps to improve sanitation (the “Sanitation Stipulation”),

    dated October 14, 2010; the Supplemental Order re: Construction Projects Required by Amended

    Supplementary Ventilation Order, dated October 20, 2011; and the Second Supplemental Order

    re: Construction Projects Required by Amended Supplementary Ventilation Order, dated

    December 18, 2012.

             This report summarizes the status of sanitation, ventilation, lighting, and fire safety

    within various New York City jails as reviewed by OCC during May–August 2021 (the

    “monitoring period”). A summary of complaints reported to OCC by The Legal Aid Society’s

    Prisoners’ Rights Project (“LAS” or “Plaintiffs,” sometimes “Plaintiffs’ counsel”) conclude this

    report. As required by the Revised Order re: Timetable for Submission of OCC Progress

    Reports, dated January 14, 2021, a draft of this report was circulated to the parties for review and

    comment. In accordance with longstanding practice, the parties’ comments to the draft report are

    appended to this final version of the report.




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      II.    MONITORING OBSERVATIONS

        A. Sanitation

                 1. DOC Sanitation Reports

                        a. Defendants’ Obligations

             The Environmental Order requires Environmental Health Officers to “make a thorough

    inspection of the entire institution in the course of the week and [to] make more frequent

    inspections when necessary to respond to particular problems—e.g., inmate complaints.” ¶ 3b.

    “The [E]nvironmental [H]ealth [O]fficer shall submit . . . reports of all such inspections,

    including a description of any ameliorative actions taken, planned [,] or recommended.” Id. at ¶

    3c. Public Health Sanitarians are required to conduct “weekly inspections of all facilities as well

    as weekly reports of deficiencies” and shall “provide reports on a regular basis to [OCC] with

    respect to environmental conditions that are the subject of this Order.” Id. ¶ 4. “[E]ach jail has

    an assigned Environmental Health Officer [], who is a captain trained by civilian managers (who

    are Public Health Sanitarians) at DOC's Environmental Health Unit [], and who conduct regular

    sanitation inspections. In addition, certain areas of jails are also regularly inspected by [] Public

    Health Sanitarians themselves.” Jan–April 2019 Report at FN1.

             In addition to staff as described above, the Department must provide staff for OCC.

    Plaintiffs’ counsel argues that the Defendants have failed “to provide sufficient staff for OCC to

    conduct its own independent inspections” (Pls.’ counsel’s comments at 1); however, adding

    additional staff to OCC before the expert sanitation inspection would be counterproductive.

    Foremost, the inspection will determine whether modifications need to be made to the existing

    sanitation protocol, which the Defendants have never implemented as designed, so there has

    been an underlying disagreement as to compliance based simply on procedure and practice.




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    Hopefully, the upcoming sanitation inspection will resolve this fundamental issue with the

    current protocol or result in the development of a protocol that will be incorporated as designed.

             Secondly, OCC staff needs to be trained by a public health sanitarian, which has been the

    historical practice, and makes sound sense. Per the Environmental Order at FN1:

             Although the job description and qualification requirements vary to some degree among
             employers, a public health sanitarian for purposes of this Order is a college educated
             professional, with [30 college] credits in the biological and/or physical sciences, who has
             undergone significant additional job specific training. By contrast, OCC-EHO’s (sic) . . .
             shall be Department of Corrections’ employees who have completed a shorter EHO
             training course . . . . Inspectors of the Department of Health . . . are public health
             sanitarians employed by the City Department of Health, as opposed to the City
             Department of Corrections (sic).

    Surely, incoming OCC staff should be trained on a comparable level before undertaking

    inspections pursuant to the Environmental Order. Prior OCC staff was trained by Mr. Pepper

    during an overall training program designed expressly for the Benjamin litigation and attended

    by the Department of Correction’s PHSs and EHOs. The training program included a full day

    classroom component that addressed the fundamentals of housekeeping, inspections and

    sampling, and a matrix review. The following day, field exercises were undertaken to

    demonstrate the differences in assessing compliance in dormitory areas versus cell blocks. These

    exercises were followed by a review of the inspection forms completed during the exercises and

    a question-and-answer period to address opinions, suggestions, and recommendations. The

    upcoming sanitation inspection incorporates a similar training program to be tailored to the needs

    of the Department based upon the inspection findings.

             Lastly, OCC believes reviewing the Department’s inspection practices and findings is

    vital to the Defendants’ compliance efforts because the Department must be in a position to

    achieve and maintain constitutionally acceptable sanitation standards long after the dissolution of

    OCC. The Department has amended its processes in response to OCC’s reviews and critiques of



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    the implementation of the sanitation protocol, which has made the Defendants’ compliance

    assessments more accurate.

                        b. Defendants’ Performance

             During this monitoring period, OCC received redacted Public Health Sanitarian (“PHS”)

    reports and Environmental Health Officer (“EHO”) weekly reports from the Environmental

    Health Unit (“EHU”), intermittently, from May 6–August 27, 2021. The PHS reports consisted

    of inspections conducted April 19–August 13, 2021 and EHO reports of inspections conducted

    March 22–July 2, 2021. Each PHS report is comprised of individual inspections of several

    intake and living areas carried out on a specific date. The EHO reports, in comparison, are not

    comprised of individual inspections, but include several locations on each inspection report,

    dated for a specific day or several days depending on the facility. The PHS and EHO reports are

    provided to OCC as individual pages of larger reports instead of full reports since certain of the

    inspections involve matters or locations that are not currently subject to Benjamin monitoring.

    For example, OCC does not monitor staff areas, clinics and medical locations, and pantries;

    accordingly, some of the report pages provided to OCC are redacted for the same reason.

             The PHS and EHO reports, collectively, should provide a snapshot of the conditions

    observed by the Sanitarians and Officers at a given time and aid in the ongoing assessment of the

    sanitation conditions within the jails; however, given the different formatting of the EHO reports

    and the reporting differences among the individual facilities, which make it difficult to ascertain

    violation dates, e.g., reporting period covering a day in some facilities versus one week in others,

    those reports have not been reviewed in this report. Moreover, the EHO reports are not

    formatted for Benjamin compliance rating and would take an inordinate amount of time for OCC

    to reformat and calculate.




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             OCC’s review of the current monitoring period’s PHS and EHO reports, as submitted by

    the EHU, indicates some discrepancies in the reported findings. For example, the EHO reported

    no ventilation, wall surface, or floor surface deficiencies in the AMKC intake on May 5, 2021,

    but the PHS found dusty vents, cracked wall tiles, cracked floor tiles, and missing floor tiles,

    among other deficiencies, on that date. On May 18, 2021, the circumstance was repeated when

    the EHO again found no ventilation, wall surface, or floor surface deficiencies while the PHS

    repeated the same violations that were reported on May 5, 2021 in addition to several other

    deficiencies. Similar discrepancies were found, generally, throughout the reports for which the

    PHS and EHO inspected the same area on the same date. Regardless of the specific

    discrepancies between the reports, overall, there was a clear decline in the Defendants’

    compliance when compared to that of recent monitoring periods.




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                             c. Defendants’ Compliance

                      The Defendants are not yet in substantial compliance with the Court’s sanitation

         mandates. In fact, the Defendants’ compliance has decreased significantly over the past year.

         Eighty percent (with zero housekeeping management observations) is the agreed upon minimum

         compliance percentage for the Department to meet accepted sanitation standards in individual

         intake and living areas.1 The DOC has not met this standard in a significant number of instances.

         OCC’s analysis of the PHS findings indicates that during 141 inspections of intake and living

         areas conducted May–August 2021, 61% indicated compliance—a stark decline from 76% for

         the same period of the previous year—with only 52% compliance in living areas. Below is a

         chart of the Defendants’ compliance from January 2020 to present. It is widely known that the

         Department is undergoing significant staff shortages; however, the Defendants did not notify

         OCC of the impact that this has on compliance with the sanitation and related Benjamin orders.




Monitoring            January–April           May–August            September–December            January–April              May–August
  Period                  2020                   2020                      2020                       2021                      2021
Number of
Inspections
                          130                      168                       161                        169                     141
Compliance
Percentage
                          62%                     76%                        78%                       69%                     61%




                  1
                    [[T]he parties’ experts and OCC’s expert] adopted the 80% score with no sanitation management
                  citations as the scoring criteria to determine a units (sic) pass or failure. The Department felt that a
                  housekeeping score of 80% was easily achievable. The group felt that no sanitation management
                  issues should exist, as these constitute the highest threat to human health.

         2013 ENVIRONMENTAL HEALTH INSPECTIONS FOR NEW YORK CITY JAIL FACILITIES AT RIKERS
         ISLAND at 3.




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                                       i. OCC Methodology and Analysis

               For this monitoring period, OCC chose all intakes and the following randomly-selected

    living areas for review:

        1.    AMKC Main Intake                  17.   NIC Main Intake                     33.   RNDC 2 C S
        2.    AMKC C-71 Intake                  18.   NIC Annex Intake                    34.   RNDC 3 C N
        3.    AMKC Quad Upper 10                19.   NIC 3B                              35.   RNDC 5 C S
        4.    AMKC Quad Upper 14                20.   NIC Dorm 1                          36.   RNDC 5 L N
        5.    AMKC Quad Lower 7                 21.   OBCC Main Intake                    37.   RNDC 5 L S
        6.    AMKC Quad Lower 10                22.   OBCC Tower Intake                   38.   RNDC 6 C N
        7.    AMKC Quad Lower 12                23.   OBCC 3 S                            39.   RNDC 6 L S
        8.    AMKC Quad Lower 15                24.   OBCC 4 S                            40.   RNDC 6 Upper South
        9.    AMKC Mod 1 Lower B                25.   OBCC 4 U                            41.   RNDC Mod 3 Lower North
        10.   AMKC Mod 9A                       26.   RMSC Intake                         42.   VCBC Intake
        11.   AMKC Mod 11B                      27.   RMSC B 1                            43.   VCBC 3A/B
        12.   AMKC Mod 12B                      28.   RMSC East 2B                        44.   WF   Main Intake
        13.   EMTC Intake                       29.   RMSC Infirmary                      45.   WF   CDU Intake
        14.   GRVC Intake                       30.   RMSC South 5B
        15.   GRVC 1A                           31.   RNDC Intake                   Several locations were closed at some
                                                                                    time during the monitoring period.
        16.   MDC Intake                        32.   RNDC Mod 1 North

    The Court requires that “[s]hower facilities, janitors’ closets, laundry areas, and toilets,

    washbasins, sinks and other personal hygiene and sanitation facilities . . . be thoroughly cleaned

    and sanitized at least once daily and more often if necessary.” Environmental Order ¶ 11(a).2

    The Department has removed most laundry areas, but the other types of sanitation facilities

    remain and are present in intake and living areas.

                                                      Intake Areas

               OCC reviewed 47 inspection reports of the intake areas in AMKC, GRVC, NIC, OBCC,

    RMSC, RNDC, VCBC, and West Facility during May–August 2021. Compliance ratings ranged

    from 75.0 (AMKC Main Intake on May 18, 2021) to 96.3 (West Facility CDU Intake on June 9,

    2021). Current PHS reports seem to indicate an improvement in intake areas over the previous

    2
     This provision of the Environmental Order also requires that showers be power washed with a bleach solution on a
    quarterly basis. By Order re: Power Washing, dated December 14, 2010, the Court suspended this mandate and
    permitted the Department to steam clean or use less-damaging measures in an effort to preserve tile work.




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    monitoring period (from a low of 69.05 (MDC Intake on Feb. 24, 2021)); however, MDC is not

    included in the instant data set and that facility did not pass any of its inspections during the

    previous monitoring period. The improvement here may simply be the result of removing MDC

    from the analysis—the MDC intake area was not included in the PHS reports for this monitoring

    period and it had a compliance rating of less than 80.00 during each of its (four) inspections

    during the last monitoring period. Be that as it may, of the nine intake areas inspected during

    this monitoring period, four demonstrated compliance during each inspection and five were

    noncompliant during one or more inspections.

                                                    Living Areas

             “Every living area (cells, dormitory, and modular sleeping areas, and showers/bathrooms and

    dayrooms in each of these units) shall be thoroughly cleaned and sanitized each week.”

    Environmental Order ¶ 11(c). Further:

             Each housing area shall have an adequately ventilated janitor (sic) closet equipped with a
             sink, or accessible to a sink, and shall have an adequate supply of cleaning implements
             and supplies, accessible to all detainees, so that each detainee can clean his cell daily and
             so that common areas of the housing blocks can also be cleaned. All cleaning
             implements shall be cleaned thoroughly after each use and stored in a clean, adequately
             ventilated place.

    Id. ¶ 11(f)–(g).

             OCC reviewed 94 inspection reports of living areas in AMKC, GRVC, NIC, OBCC,

    RMSC, RNDC, and VCBC during May–August 2021. Compliance ratings ranged from 62.5

    (AMKC Quad Lower 7 on June 21, 2021) to 91.7 (RNDC 3 Central North on July 13, 2021).

    Ultimately, PHS reports indicate a decline in compliance from last monitoring period. Of the

    thirty housing areas reviewed for compliance, only six were compliant during each of at least

    two inspections and the remaining twenty-four were noncompliant during one or more

    inspections. (Seven housing areas were noncompliant during every inspection this monitoring



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    period: AMKC Mod 1 Lower B (two inspections), AMKC Mod 9A (three inspections – the same

    as the prior monitoring period), AMKC Quad Lower 7 (two inspections), OBCC 4 South (three

    inspections), RNDC 6 Central North (three inspections), RNDC Mod 1 North (two inspections)

    and RNDC Mod 3 Lower North (two inspections).)

                                                      Vacant Cells

             The Defendants, additionally, remain noncompliant in cleaning and maintaining vacant

    cells in accordance with the Court’s mandate that ‘[e]very cell shall be thoroughly cleaned and

    sanitized upon becoming vacant, shall be kept clean of garbage and debris while vacant, and

    shall be inspected prior to reoccupancy to ensure that it is cleaned and sanitized.” Environmental

    Order ¶ 11(c). In the sample reviewed by OCC, the Sanitarians visited ninety-six vacant cells,

    sixteen of which were inspected twice during the monitoring period, resulting in 112

    inspections.3 Of the 112 vacant cell inspections conducted by the Sanitarians in the areas

    surveyed by OCC during the monitoring period, 106 (95%) of those inspections yielded a

    combined 474 violations, and there were no violations during the remaining six (5%) vacant cell

    inspections, as detailed in Att. 1.




    3
     Unlike in prior monitoring periods, none of the vacant cells that were inspected twice, demonstrated compliance
    during both inspections.




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                                         ii. Benjamin Inspection Protocol


    During PHS inspections, compliance is assessed in eleven categories, discussed below, using a

    binary scoring method of “0” if the location meets accepted standards or requirements and “1” if the

    location does not in the particular category. This binary system means that a score can be placed in

    the applicable field only if an assessment was made. Scoring a location in a category for which it

    was not assessed skews the compliance rating and makes it inaccurate. (The effect is similar when

    non-Benjamin locations (such as staff areas and clinics and medical locations) are included in

    inspections for this litigation.) An example of the inspection form is immediately below for

    reference. The sum of scores of each location in an intake or housing area is then calculated to

    produce a component trend score, for which “reduced sampling scoring must be 3 or less for the

    housing component to be considered to have met sanitary standards or requirements on all rows

    except the General, Day Room Furnishings, and Dormitory Bed rows which must be 2 or less.”

    The compliance percentages are automatically calculated when the electronic inspection reporting

    form is used because the formula is embedded in the form, an Excel spreadsheet. Manually, the

    compliance percentages can be calculated as follows:

    𝑡ℎ𝑒 𝑠𝑢𝑚 𝑜𝑓 𝑡ℎ𝑒 𝑐𝑜𝑚𝑝𝑜𝑛𝑒𝑛𝑡 𝑡𝑟𝑒𝑛𝑑 𝑠𝑐𝑜𝑟𝑒𝑠
                                            −1
              𝑡ℎ𝑒 𝑐𝑜𝑢𝑛𝑡 𝑜𝑓 𝑠𝑐𝑜𝑟𝑒𝑠


    The compliance percentage must be 80.00 or higher for an intake or living area to be compliant;

    however, if there is at least one observation of cleaning and sanitizing procedures not being

    followed, lack of cleaning chemicals, inadequate cleaning equipment and equipment sanitation, or

    inadequate water facilities, the area fails the inspection, regardless of score. An example of this

    protocol is seen in the sample inspection form below: the area’s housekeeping compliance is

    81.36%, but it does not pass the inspection because cleaning and sanitizing procedures were not

    followed in at least one instance.


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                                                iii. Discussion of Findings


             The PHS inspections found 2771 violations distributed across all facilities, in the categories

    listed in the chart, immediately below, and the details of the violations observed in the categories are

    specified below or attached, if not identified here. The inspection findings are discussed below in

    terms of the housekeeping inspection matrix developed by the expert sanitarians.

                                Violation Category                                    Violation Instances
             *absence of training materials in critical areas                                   3
             inadequate cleaning equipment & station                                           16
             inadequate lighting                                                               13
             *lack of adherence to established policies and procedures                          7
             lack of cleaning chemicals                                                         1
             organic soil accumulations                                                       175
             presence of malodors                                                               3
             procedures (not) followed                                                          8
             surfaces (not) smooth                                                            464
             unclean to sight                                                                1800
             ventilation                                                                      224
             vermin                                                                            57
    *finding is a subset of the “procedures (not) followed” category, which requires more than one observation to trigger a
    management violation

    The following evaluative housekeeping criteria are taken directly from the training material. They

    are used to assess compliance during sanitation inspections and apply to the PHS inspections

    undertaken during this monitoring period. The following discussion is limited to the PHS

    inspections surveyed by OCC and does not represent all inspections undertaken during the current

    monitoring period.




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     ADMINISTRATIVE and MANAGERIAL OBSERVATIONS – The following five criteria apply

     to all areas, and at least one observation of any of the first four causes the area to fail the inspection.

     1. CLEANING AND SANITIZING PROCEDURES (NOT) FOLLOWED
        a) uniform sanitary procedures as detailed in policies and procedures not followed
        b) cleaning frequency inadequate to maintain proper sanitation
        c) policy is inadequate to address soiling of the unit
        d) no evidence of training of inmates to housekeeping policy
        e) disposable gloves and other personal protective equipment not available, provided or used as
           per manufacturer’s label requirements and/or institutional policy
     Verification of these criteria is by indicating two or more of the following:
                 lack of adherence to established policies and procedures
                 no notation in unit log (schedule or frequency)
                 absence of training materials or instructional postings in critical housekeeping areas
                 direct chemical test of finished disinfectant solution
                 negative responses to inmate and/or staff interviews

              There were five instances (see chart immediately below) in which the EHU determined that

     the Department’s cleaning and sanitizing procedures were not followed.

CATEGORY: Cleaning and Sanitizing Procedures (not) Followed
FACILITY AREA                    DATE          LOCATION                             FINDING
 AMKC          Main Intake       18-May        storage            Virex (1) and Stride (2) in storage room
                                 2-Jul         storage            3/4 filled floor cleaner on shelf
                                                                  "no labels" on chemicals in Diversey
               Quad Lower 7      21-Jun        janitor's closet
                                                                  dispenser
                                 19-Jul        janitor's closet   chemicals not labeled on Diversey dispenser
   NIC         Dorm 1            19-May        sleeping area      Corcraft bottles (2) by beds #7 and #13

     However, OCC believes that, ultimately, there were eight instances of Cleaning and Sanitizing

     Procedures (not) Followed during this monitoring period, as discussed here. OCC’s review of the

     PHS reports indicate that the EHU did not assess OBCC 4 South as failing to follow procedures

     during the July 23 inspection despite finding “gloves not provided” upon inspection of the janitor’s

     closet and “wiping cloths/sponges not stored in sanitizing solution.” These two observations are

     indicative of an additional instance of Cleaning and Sanitizing Procedures (not) Followed and herein

     noted as such. Likewise, the EHU did not assess OBCC 4 Upper as noncompliant in this category


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    upon finding “no goggles and no gloves were present” on July 16; yet, these two observations

    indicate a further instance. To be clear, the EHU did not assess these two OBCC housing areas as

    passing their respective inspections; indeed, they both had several issues that resulted in compliance

    scores of less than 80.00. OCC raises the application of the sanitation protocol as an issue because

    of the actuality of assessing an area as compliant when it is not. In RNDC 6 Lower South on May

    10, there were four observations that should have resulted in an additional finding in this category:

              in the dayroom, cleaning implements were left "immersed in a dirty [unidentified]
               solution" ;
              in the janitor's closet, the PHS found a "dirty used green pad . . . on the wall wooden
               shelf" ;
              in the janitor’s closet, the English version of the cleaning poster was torn; and
              in the janitor’s closet, the Spanish version of the cleaning poster was torn.

    In this instance, the EHU did not apply the sanitation protocol properly and reported the housing

    area as passing its inspection. OCC disagrees and accordingly records RNDC 6 Lower South as

    noncompliant in this category on May 10, 2021 because each of the first two observations qualify as

    a lack of adherence to established policies and procedures while each of the latter two demonstrate

    absence of training materials or instructional postings in critical housekeeping areas. Per the

    sanitation protocol, the Cleaning and Sanitizing Procedures (not) Followed category is applicable

    upon verification of two or more of the above-listed.

              Relatedly, seven additional observations of a lack of adherence to established policies and

    procedures and three more observations of the absence of training materials or instructional postings

    in critical housekeeping areas were recorded, but the single instances did not trigger the overall

    category of Cleaning and Sanitizing Procedures (not) Followed. Nevertheless, they are violations of

    the Benjamin sanitation orders and, as such, are noted herein and identified in the table immediately

    below.




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Subcategory: lack of adherence to established policies and procedures
FACILITY       AREA              DATE         LOCATION         FINDING
AMKC           Mod 1 Lower B 20-Jul           janitor's closet dirty used green pads on shelf
                                                               dirty used sponge on shelf
               Quad Lower 7      19-Jul       janitor's closet dirty used green pad on organizer
                                                               dirty used yellow sponge on organizer
OBCC           4 South           12-Aug       janitor's closet dirty sponge stored on chemical dispenser
VCBC           3AB               11-Aug       janitor's closet dirty sponge on Diversey dispenser
               Intake            28-Jul       janitor's closet used sponges not stored properly

Subcategory: absence of training materials in critical areas
FACILITY       AREA                DATE        LOCATION            FINDING
AMKC           Quad Lower 7        19-Jul      janitor's closet    no sanitation posters
RMSC           East 2B             12-Aug janitor's closet         Spanish sanitation poster not provided
RNDC           6 Central North     20-Jul      janitor's closet    "no sanitation posters"


       2. LACK OF CLEANING CHEMICALS
            a) cleaning chemicals not provided at the unit
            b) par levels not appropriate to the unit
       Verification of the deficiency is by any one of the following:
                       boundary markers in inventory levels that signal replenishment is necessary not
                          established, or,
                       amount or level considered to be adequate, not maintained, or,
                       absence of a standard quantity as established by policy

                There was one reported instance of a lack of cleaning chemicals during the PHS inspections:

    CATEGORY: Lack of Cleaning Chemicals
    FACILITY     AREA          DATE       LOCATION                                   FINDING
      OBCC       4 Upper       16-Jul    janitor's closet                   no cleaning chemicals present


       3. INADEQUATE CLEANING EQUIPMENT AND EQUIPMENT SANITATION
          a) cleaning equipment in poor repair or worn
          b) cleaning equipment is visibly dirty and possibly malodorous
          c) inadequate storage of housekeeping equipment
          d) cleaning equipment storage appurtenances not available for the sanitary and safe storage of
             mops, brooms and brushes
          e) par levels inappropriate to the facility or not established to meet cleaning needs

                There were sixteen observations recorded in this category during the PHS inspections.




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CATEGORY: Inadequate Cleaning Equipment and Equipment Sanitation
FACILITY AREA    DATE      LOCATION                           FINDING
GRVC     Intake 22-Jun janitor's closet  Diversey dispenser inoperable
                              7-Jul    janitor's closet   Diversey dispenser inoperable
                              21-Jul   janitor's closet   Diversey dispenser inoperable
                              6-Aug    janitor's closet   Diversey dispenser inoperable
OBCC            3 South       23-Jul   janitor's closet   dirty brooms stored with "dust bunnies"
                                                          mop bucket excessively dirty and stored upright
                4 Upper       20-May   janitor's closet   dirty, stringy mop heads
                                                          mop improperly stored
                                                          mop wringer cracked and missing sections
                              11-Jun   janitor's closet   chemical selection button missing from dispenser
                                                          Diversey dispenser inoperable
                              16-Jul   janitor's closet   Diversey dispenser inoperable
                                                          only one mop available
                                       sleeping area      dirty sponge on window ledge
RNDC            Intake        7-May    janitor's closet   broken door and no chemicals in Diversey dispenser
                              21-May   janitor's closet   Diversey door broken and dispenser inoperable


     4. ADEQUATE WATER FACILITIES PROVIDED
        a) utility sink not readily available and/or accessible
        b) hot and cold water of adequate flow and pressure not provided
        c) absence of a free-flowing drain

              During this monitoring period, there were no instances of inadequate water facilities during

     the PHS inspections surveyed by OCC.




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     5. PRESENCE OF VERMIN INCLUDING INDICATOR ARTHROPODS

              Unlike the other four management categories, observations in this category do not cause an

     area to automatically fail inspection.

               This criterion is listed under the management section because the presence of vermin or
               indicator organisms requires subsequent action by the correctional staff in reporting the
               observable condition. However, no further action on their part is necessary unless so
               directed. If an observation is made, that observation is informational only and does not
               factor into the overall unit compliance unless it remains unreported or uncorrected.

     “Housekeeping Inspection Matrix” at 12.

     The inspections reviewed by OCC, indicated that the Sanitarians observed vermin in seven of eight

     facilities as noted in the fifty-seven instances listed immediately below.

CATEGORY: Vermin
FACILITY AREA                        DATE              LOCATION               FINDING
   AMKC Mod 9A                       22-Jul            janitor's closet       gnats in area
         Quad Lower 10               23-Jun            janitor's closet       gnats in area
                                                       toilet area            gnats in area
                                     19-Jul            cell #31 (O)           roaches noted
                                                       toilet area            ants noted
               Quad Lower 12         19-Jul            common area            roaches noted
                                                       janitor's closet       ants noted
                                                                              roaches noted
               Quad Lower 15         15-Jul            janitor's closet       gnats in area
                                     9-Aug             cell #18 (V)           roaches noted
                                                       cell #22 (V)           gnats observed
               Quad Lower 7          21-Jun            dayroom                "live fruit flies"
                                     19-Jul            cell #15 (O)           fruit flies on wall
                                                       dayroom toilet         fruit flies on wall
    GRVC 1A                          10-Jun            showers                drain flies on wall
                                     4-Aug             showers                drain flies on walls
               Intake                22-Jun            janitor's closet       live fruit flies in room
                                     7-Jul             showers                several fruit flies on wall
                                     21-Jul            pen #13                live fruit flies in room
                                                       pen #4                 flies in area
                                                                              live fruit flies in room
                                     6-Aug             pen #14                fruit flies in area




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                                                  showers               fruit flies in area
      NIC Dorm 1                  16-Jun          janitor's closet      gnats in the area
                                  11-Aug          toilet area           gnats in area
         Main Intake              29-Jun          common area           flies in area
    OBCC 3 South                  29-Jun          showers               cockroach crawling on wall
                                                                        lower tier - numerous drain flies on
                                                                        walls
                                  23-Jul          janitor's closet      fruit flies observed
                                                  showers               drain flies on walls - upper tier
                                  12-Aug          showers               cockroaches crawling on floor -
                                                                        upper tier stall #6
              4 South             23-Jul          showers               dead water bug on floor - upper tier
                                                                        drain flies on walls - upper tier
   RMSC Building 1                12-Aug          janitor's closet      drain flies on walls
                                                  showers               drain flies on walls
              Intake              21-May          showers               dead water bug at junction
                                                                        live ants
                                  28-Jun          showers               drain flies on walls
                                  16-Jul          janitor's closet      dead roaches on floor
    RNDC 3 Central North          11-Jun          common area           gnats in corridor
                                  6-Aug           common area           gnats in area
              5 Central South     3-Aug           common area           roaches in corridor
                                                  janitor's closet      gnats in area
              5 Lower South       9-Jun           common area           gnats in corridor
                                  7-Jul           cell #8 (V)           gnats in area
                                                  showers               gnats in area
              6 Central North   15-Jun            dayroom               roaches along corners and junctions
                                20-Jul            cell #20 (V)          flies in area
              Mod 1 North       9-Jun             janitor's closet      gnats in area
              Mod 3 Lower North 22-Jun            sleeping area         gnats in area
                                27-Jul            janitor's closet      gnats in area
                                                  showers               gnats in area
                                                  sleeping area         gnats in area
    VCBC 3AB                      7-Jul           janitor's closet      drain flies on walls
                                  11-Aug          janitor's closet      drain flies on walls
                                                  showers               drain flies on curtains
                                                                        drain flies on walls

    A review of the vermin observations over the last four reporting periods with the current period

    indicates a significant increase in vermin activity within the facilities. During the 2020 calendar



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    year, which covers three reporting periods, there was an average of forty-four observations, and in

    the last monitoring period, there were twenty observations.4 The Defendants should remain mindful

    of these observations and address them upon notification. The inspection notes for the current

    monitoring period point toward vermin in several locations throughout the intake and living areas, a

    change from the localized activity seen during previous inspections. Per, the “Inspection Matrix” (at

    2) that was developed by Mr. Eugene Pepper and the parties’ experts in 2011 and currently used by

    the Department during its facility inspections:

             This observation was included because housekeeping is a major component of integrated
             pest management. As such, it is integral to an effective housekeeping program. Because
             the actual pest eradication is coordinated by a professional pest control technician, who is
             not under the direct supervision of inmate management administration, it is not controlled
             as other components of the housekeeping program. Even though this observation is
             essential in the health and wellbeing of the inmates and staff, it does not factor into the
             compliance score, but is included as an informational component that requires immediate
             action when noted.




    4

   Monitoring           January–April   May–August      September–December       January–April      May–August
     Period                 2020           2020                2020                  2021              2021
   Observations              44             43                  45                    20                57




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    HOUSEKEEPING OUTCOME OBSERVATIONS – the following six criteria are direct

    observations of physical housekeeping conditions.

    1. Unclean to Sight:
           presence of loose filth and garbage
           dust and dirt accumulation
           soiling of touch points and/or high (common) touch surfaces
           soiled bed frames and dayroom furnishings
           soiled utility (janitor’s) closet
           soil imbedded at transition areas such as edges of spalled tile, floor to wall junctions,
             door jambs, and furnishing floor anchors

             The sanitarians recorded 1800 observations, across all facilities, which is an increase of 400

    from the previous monitoring period, despite there being twenty-eight fewer inspections during this

    monitoring period and what OCC believes is an undercount since several inspections simply noted

    “paper, dirt, debris, and food items in several vacant cells” or “clothes, paper, dirt, debris, and food

    items on empty beds” instead of enumerating the violations. Certainly, a fully itemized list is not

    required as the sanitation protocol is binary and the entry of a “1” accounts for one observation or

    more than one observation per category and location. The listing of violations is helpful in

    determining repeat violations and overall changes in conditions. As in prior monitoring periods, the

    observations consist principally of dirty floors, corners, and junctions; dirty walls; dirty/dusty

    window screens and ledges; and dirty light shields. Att. 2. During this monitoring period only one

    PHS reliably reported repeat violations and OCC noticed numerous instances of repeat violations

    that were not so noted on the inspection reports.




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    2. Organic Soil Accumulations in Wet and Moist Areas:
           organic debris accumulation in and around toilets, urinals, utility sinks, lavatories and
              showers
           drain screens5 not cleaned of hair and debris; partially occluded drains resulting in
              temporary pooling of water
           chronic pooling of water and/or presence of chronically wet walking surfaces

             There were 175 observations in this category, which consisted mostly of mildew on floors,

    walls, and ceilings in showers, toilet areas, and janitor’s closets in all facilities except VCBC and

    West Facility. Att. 3. This is an increase from 103 during last monitoring period.

    3. Surfaces (not) Smooth and Easily Cleanable:
           structural surfaces in poor repair; porous; uneven/irregular/jagged, for example: wall-
              floor junctions not smooth, rounded, or sealed; cracks, joints and tile grouting not sealed
              or in good repair
           beds and/or dayroom furnishings in poor repair

             There were 464 reported observations of this category in all facilities, down from 643

    observations during the last monitoring period, with numerous deficiencies reported repeatedly

    without abatement. Att. 4. Still, these instances of repeat occurrences are again undercounted, as

    OCC observed that sanitarians did not reliably record that several observations were repeated during

    the current monitoring period or from prior monitoring periods. As stated in prior monitoring

    periods, the Defendants’ reported compliance does not incorporate the triggering of management

    violations based on the frequency of Unclean to Sight, Surfaces (not) Smooth and Easily Cleanable,

    and Organic Soil Accumulations in a unit. Per OCC’s sanitation expert, Eugene Pepper:

             These three criteria citations point out two critical failure (sic) by the institution. The first
             is the failure to properly clean (Unclean to Sight and Organic Soil Accumulations). The
             first step in any sanitation operations. This step is basically a soap and water step! This is
             a failure in procedure . . . . The frequency of these housekeeping failures, over 2 times in
             any one unit, is evidence of a general failure in following cleaning procedures prior to the

    5
      Per the Housekeeping Matrix, “If the floor drain is occluded or partially occluded with organic deposits below the
    drain screen, it cannot be cleaned using regular housekeeping methods. Therefore, it is not considered a non-
    compliance issue and a notation of the observation should be made in the comments section on the inspection
    report.”




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             sanitation step. Such high frequencies of this citation trigger the more critical citation for
             failure to follow “Cleaning and Sanitizing Procedures” a management citation and an
             automatic non-compliance rating for the unit.

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    AT RIKERS ISLAND, at 7. Again, the Defendants disagree with Mr. Pepper’s position, which was

    supported by Plaintiffs’ Counsel’s expert during the 2011 sanitation inspection.

    4. Lighting
           less than 10 foot-candles, measured at three feet from the target horizontal surface, or,
           less than optimal lighting from an existing and operational luminary—this includes
              observable conditions such as dimming or flickering and/or the presence of blackened
              ends of fluorescent light bulbs

             The thirteen instances of inadequate lighting were concentrated in the janitor’s closets of

    AMKC, OBCC, and RNDC during this monitoring period. In certain cases, the inadequate lighting

    remained unabated after the initial report. Att. 5. Overall, instances of inadequate lighting

    continued to decrease, down from twenty-five during the prior period, but there is concern about the

    accuracy of the Defendants’ reporting. For example: GRVC 1A had “no operational light in the

    janitor[’]s closet” during its July 12 inspection, yet the PHS reported lighting as adequate and

    recorded a 28.5 FC reading. This cannot be. Clearly, there was no light in the closet to emit the

    foot-candles reported by the PHS.

    5. Presence of Malodors:
    Malodors are those that are classified as those that are distinctly septic, putrefactive, or body odors.

             Instances of malodors were detected in three locations during the monitoring period.

  FACILITY                AREA        DATE                LOCATION                             FINDING
    GRVC                   1A        11-May               cell #8 (V)                      malodor noted
    OBCC                 3 South     29-Jun             janitor's closet                   malodor present
    RMSC                Building 1   12-Aug             janitor's closet                   malodor noted




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    6. Ventilation:
           exhaust ventilation in toilets, showers and utility closets not working
           exhaust ventilation grills occluded with dust, dirt or sealed with paint

             The 224 observations of ventilation deficiencies represents an increase from 181 last

    monitoring period and were reported in all facilities. The deficiencies consisted principally of

    dirty/dusty vents and partially or fully occluded vents. Att. 6. In several instances, the condition

    was not abated and the same violation was reported more than once.

                                             iv. Recommendations

             Clearly, the Defendants have not maintained last year’s progress toward improving

    compliance with the Benjamin sanitation mandates and compliance has decreased markedly during

    these last two monitoring periods. The Department has not notified OCC of the factor that is

    contributing to the decline in its performance; however, OCC is aware of staff shortages throughout

    the Department, which may have a significant impact on compliance with the Benjamin orders. The

    Defendants acknowledge this point in their comments to the draft of this report and offer

    “[a]pproximately 100 cleaners have been deployed in all facilities except West Facility, [VCBC],

    and EMTC.” Defs’. comments at 2. The cleaners will be deployed in service areas, which will

    allow DOC staff to concentrate on housing areas. The discrepancies between the PHS and EHO

    reports along with the inaccuracies of the sanitation inspections are increasing and have not been

    accounted for; nonetheless, the Defendants note that “to the extent the EHOs (who are captains) have

    been deployed to perform other tasks . . . that could undermine their ability to supervise the house

    details, which are comprised of residents in the housing facilities who are paid to keep the area

    clean.” Id. at 3. The Department has increased the hourly rate paid to house details in an effort to

    incentivize resident workers. Id. Based on these circumstances, OCC believes the Department may

    not be in a position to pass a sanitation inspection in November, as currently scheduled. This does



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    not mean that the inspection should not occur because, more than ever, it appears that an expert

    sanitation inspection would be very beneficial to the Benjamin litigation for the reasons stated

    previously:

             (1) to assess the Defendants’ overall progress made toward compliance,

             (2) to review the existing protocol to determine whether modifications need to be made, and

             (3) to establish the training needs of OCC and EHU (PHS and EHO).

     2. DOHMH Inspection Reports

             The Environmental Order requires the NYC Department of Health and Mental Hygiene’s

    Division of Environmental Health, hereinafter “DOHMH,” (formerly DOH) to “thoroughly

    inspect each jail at least once every month [,] . . . submit to [OCC] . . . reports of all such

    inspections, and the [DOC] shall provide [OCC] with a description of any ameliorative actions

    taken, planned or recommended.” Environmental Order at ¶ 6–6(a). As reported during the

    previous four monitoring periods, by Order dated March 24, 2020, the Court suspended

    “Paragraph “6” of the April 26, 2001 Order on Environmental Conditions . . . during the current

    public health crisis” and ultimately the DOHMH’s inspection and reporting requirements,

    temporarily. On August 5, 2021, Defendants notified OCC and Plaintiff’s counsel that DOHMH

    was preparing to resume inspections, but had concerns about the new Covid-19 variant.

    DOHMH has notified the Defendants that its inspections will resume on October 18, 2021.

    Defs.’ comments at 4. In past practice, the DOHMH submitted its reports to OCC approximately

    five to ten days after the end of the month represented in the reports and OCC expects that this

    practice will recommence with the resumption of the inspections.




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